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                         UNITED STATES v. ANDREW HAZELTON

                                 SYNOPSIS – COMPLAINT


Name:                                  Andrew Hazelton

Address:                               Portland, Maine
(City & State Only)

Year of Birth and Age:                 1993 (28 years old)

Violations:                            Count 1:          Possession of child pornography.
                                                         18 U.S.C. § 2252A(a)(5)(B).

Penalties:                             Count 1:          Class C felony. Not more than 10 years
                                                         imprisonment, and/or not more than a
                                                         $250,000 fine.
                                                         18 U.S.C. § 2252A(b)(2).

Supervised Release:                    Count 1:          At least 5 years, maximum of life.
                                                         18 U.S.C. § 3583(k).

Maximum Term of Imprisonment for       Count 1:          Not more than 2 years.
Violation of Supervised Release:                         18 U.S.C. § 3583(e)(3).

                                                         But if Defendant is required to register
                                                         under the Sex Offender Registration
                                                         and Notification Act and commits an
                                                         offense under Chapter 109A, 110, 117,
                                                         or section 1201 or 1591, for which
                                                         imprisonment for a term longer than 1
                                                         year can be imposed, the court shall
                                                         revoke supervised release and impose
                                                         a term of imprisonment of not less than
                                                         5 years.
                                                         18 U.S.C. § 3583(k).

Maximum Additional Term of             Count 1:          Life.
Supervised Release for Violation of                      18 U.S.C. § 3583(k).
Supervised Release:
Defendant’s Attorney:                  TBD
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Primary Investigative Agency and Case   FBI
Agent Name:                             Task Force Officer Jonathan A. Duquette

Detention Status:                       Probable cause arrest was made, detention motion to be
                                        filed.

Foreign National:                       No

Foreign Consular Notification Provided: N/A

County:                                 Cumberland

AUSA:                                   Craig M. Wolff

Guidelines apply? Y/N                   Yes

Victim Case:                            Yes

Corporate Victims Owed Restitution:     N/A

Assessments:                            $100.
                                        18 U.S.C. § 3013(a)(2)(A).

                                        Not more than $17,000.
                                        18 U.S.C. § 2259A(a)(1).

                                        $5000, if Defendant is found to be non-indigent.
                                        18 U.S.C. § 3014(a).
